                                                              T The Honorable Christopher M. Alston
 1                                                                                       Chapter 13
                                                                   Hearing Date: December 14, 2017
 2                                                                          Hearing Time: 9:30 AM
                                                       Hearing Location: US Courthouse /Seattle, WA
 3                                                                 Response Due: December 7, 2017
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 7
                            UNITED STATES BANKRUPTCY COURT
 8                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
     IN RE:
 9                                                             Case No. 17-13890
     JOSE ORTIZ,
10                                                             Chapter: 13

11                                                             PROOF OF SERVICE
                                   Debtors.
12

13

14          I, Christina L. Henry declare under penalty of perjury, that on the dates indicated below, I
     caused a copy of the following documents to be served on the parties listed below via Certified
15   Mail:
16
              1) Debtor’s Motion to Avoid Lien of Midland Funding LLC with Notice of Hearing,
17               Proposed Order and Declaration of Christina L Henry in Support

18   Via United States First Class Certified Mail on February 18, 2014

19               Midland Funding, LLC
                 Attn: Registered Agent
20
                 Corporation Service Company
21               300 Deschutes Way SW
                 Ste 304
22               Tumwater, WA 98501
23   (See Attached certified mail Return Receipt)
24
              DATED this 15th day of November 2017
25
                                                    HENRY, DEGRAAFF & MCCORMICK, P.S.
26                                                  By: /s/ Christina L. Henry
                                                    Christina L. Henry, WSBA #31273
27
      PROOF OF SERVICE - 1                                               HENRY, DEGRAAFF & MCCORMICK, P.S.
                                                                                1833 N 105TH ST, SUITE200
                                                                              SEATTLE, WASHINGTON 98104
                                                                                 telephone (206) 330-0595
                                                                                     fax (206) 400-7609
      Case 17-13890-CMA          Doc 30       Filed 11/15/17     Ent. 11/15/17 16:10:09        Pg. 1 of 4
 1             EXHIBIT A
 2
     CERTIFIED MAIL RETURN RECEIPT
 3

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     PROOF OF SERVICE - 2                                     HENRY, DEGRAAFF & MCCORMICK, P.S.
                                                                     1833 N 105TH ST, SUITE200
                                                                   SEATTLE, WASHINGTON 98104
                                                                      telephone (206) 330-0595
                                                                          fax (206) 400-7609
     Case 17-13890-CMA      Doc 30   Filed 11/15/17   Ent. 11/15/17 16:10:09        Pg. 2 of 4
         SENDER: COMPLETE THIS SECTION

    i.   ~
        Complete items 1, 2, and 3.                                                                                                       1.

    • • Print your name and address on the reverse·                                                             ~----!0::.!Ag~ent       I
        so that we can return the card to you.         . •                                                                D Addressee \
   !I • Attach this card to the back of the mailpiece,
        or on the front if space permits.      .                          -
                                                                              B. Received by (Printed Name)
                                                                                   Caroline Little
                                                                                                                    C. Date of Delivery f
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    I: PS Form 3811 , July 2015 PSN 7530-02-000°9053
     =~-    .    ~          . ·- -             .~                                                             Domestic Return Receipt     I




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                   USP.$1ttb:Ckl'4m # .
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       United States   • Sender: Please print your name,. address, and ZIP+4® in this box•
       Postal Service




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